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                NOTE: CHANGES MADE BY THE COURT
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8                       UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION
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12 POWER ANALYTICS                           Case No. 8:16-cv-01955-JAK-FFM
   CORPORATION,
13                                           ORDER RE JOINT AMENDED
   Plaintiff,                                STIPULATION REQUESTING
14                                           MODIFICATION TO SCHEDULE
   v.
15
   OPERATION TECHNOLOGY, INC.,
16 d/b/a ETAP, OSISOFT LLC, and
   SCHNEIDER ELECTRIC USA, INC.,
17
   Defendants.
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19         Having read and considered the Joint Amended Stipulation Regarding
20   Modification to the Schedule filed by Plaintiff Power Analytics Corporation,
21   (“Power Analytics”), and Defendants Operation Technology, Inc. d/b/a ETAP
22   (“ETAP”), Schneider Electric USA, Inc. (“Schneider”) and OSIsoft, LLC (“OSI”),
23   the Court GRANTS IN PART the Stipulation and orders the schedule to be
24   modified as follows:
25      1. Leave to Amend: The current December 21, 2017 deadline for Power
26         Analytics to file an amended complaint is continued to January 11, 2018.
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1      2. Deadline to File Responsive Pleading: The deadline for Defendants to file
2         any responsive pleading is February 8, 2018. Should Defendants file a
3         motion to dismiss the amended complaint, the hearing date shall be set in
4         accordance with the Court’s Open Motion Calendar. Counsel shall refer to
5         the Court’s Standing Order with respect to the briefing schedule for motions.
6      3. Schedule: The December 1, 2017 Scheduling Order (Dkt. 360) remains.
7         Should the parties wish to confer and file a joint report regarding scheduling
8         issues or an amendment to any dates, a stipulation and proposed order shall
9         be filed setting forth the parties’ respective and/or collective views, which
10        shall include a basis or explanation for any request for a modification.
11   IT IS SO ORDERED.
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13   Dated: December 28, 2017
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15                                  _________________________________
                                    JOHN A. KRONSTADT
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                                    UNITED STATES DISTRICT JUDGE
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